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                               IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF OKLAHOMA

1) ISAAC E. HEAVEN,                                             )
2) ROGER L. MARTIN,                                             )
                                                                )
                    Plaintiffs,                                 )
                                                                )
v.                                                              )     Case No. CIV-15-823-R
                                                                )
1) SKINNER TANK COMPANY, an                                     )
Oklahoma Corporation,                                           )
                                                                )
                    Defendant.                                  )

                      STIPULATION OF DISMISSAL WITH PREJUDICE

          It is hereby stipulated and agreed by and between the parties hereto, through

their respective legal counsel, that the above entitled cause be dismissed with

prejudice and without costs to any party, because all matters in controversy for which

said action was brought have been fully compromised, settled and adjourned.

                                                                      Respectfully submitted,

                                                                      FRASIER, FRASIER & HICKMAN, LLP



                                                            By:          s/Frank W Frasier
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                                          CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on the 29th day of April, 2016, a true,
correct, and exact copy of the foregoing document was served via electronic notice by
the CM/ECF filing system to all parties on their list of parties to be served in effect this
date.

                                                            By:         s/Frank W Frasier
                                                                      Frank W Frasier




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